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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND

                                          :
SCOTTSDALE CAPITAL ADVISORS
CORPORATION                               :

     v.                                   :     Civil Action No. DKC 16-0860

                                          :
FINANCIAL INDUSTRY REGULATORY
AUTHORITY, INC.                           :

                                        ORDER

     For the reasons stated in open court, it is this 26th day of

April,    2016,    by   the    United     States      District        Court    for    the

District of Maryland, ORDERED that:

     1.      The   motion     to     dismiss    filed      by   Financial      Industry

             Regulatory Authority, Inc. (ECF No. 10), BE, and the

             same hereby IS, GRANTED;

     2.      Plaintiffs’      complaint        BE,   and    the      same    hereby   IS,

             DISMISSED for lack of subject matter jurisdiction; and

     3.      The   clerk      will    transmit       copies     of    this    ORDER    to

             counsel for the parties and CLOSE this case.



                                                          /s/
                                                DEBORAH K. CHASANOW
                                                United States District Judge
